                        Case 2:23-bk-00373-FMD             Doc 117      Filed 09/22/23      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                09/22/2023 10:00 AM
                                                                COURTROOM Room 4-102
HONORABLE CARYL DELANO
CASE NUMBER:                                                    FILING DATE:
2:23-bk-00373-FMD                        11                       04/02/2023
Chapter 11
DEBTOR:                 H2O Investment Properties LLC


DEBTOR ATTY:           Jennifer Duffy
TRUSTEE:               Michael Markham
HEARING:
*Post Confirmation Status Conference (Sub V Case)

APPEARANCES:: Mike Dal Lago, Ben Lambers, Michael Markham, Jennifer Lafgus, Lindsay Salvastano, Melbalynn Fisher

WITNESSES:

EVIDENCE:

RULING:
*Post Confirmation Status Conference (Sub V Case) - Continued to 12/4/2023 at 1:30 pm, Announced in Open Court No
Further Notice Given
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 2:23-bk-00373-FMD                      Chapter 11
